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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

AMERICAN COLLEGE OF             *
OBSTETRICIANS AND               *
GYNECOLOGISTS, et al.,           *
                                 *
                Plaintiffs,      *     Case No. 8:20-cv-1320 TDC
                                *
          vs.                   *
                                *
UNITED STATES FOOD AND DRUG      *
ADMINISTRATION, et al.,          *
                                 *
                Defendants.      *
                            **********
                JOINT RESPONSE TO SCHEDULING ORDER

       Plaintiffs and Defendants (together, the “Parties”) jointly file the following response to the

Court’s scheduling order, dated June 1, 2020 (ECF No. 37):

       1.       Plaintiffs filed their complaint on May 27, 2020 (the “Complaint”). ECF 1. The

Complaint raises Substantive Due Process and Equal Protection challenges to the “In-Person

Dispensing Requirement” for the drug Mifepristone in light of the COVID-19 pandemic. ECF 1

at ¶¶ 122–125. Together with the Complaint, Plaintiffs filed a Motion for Preliminary Injunction

and Request for Expedited Oral Argument (the “Motion”). ECF No. 11.

       2.       On June 1, 2020, the Court entered an order setting briefing deadlines and

scheduling a video hearing on the Motion for Friday, June 19, 2020 at 9:30am (the “Hearing”).

ECF No. 37. The Court’s order directed the Parties “to notify the Court of the identity of any

proposed hearing witnesses and the expected length of their testimony” by June 8, 2020 for

Defendants and June 12, 2020 for Plaintiffs. Id. at 2.

       3.       The Parties hereby notify the Court that neither Plaintiffs nor Defendants will call

any witnesses at the Hearing.
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                                          Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on June 8, 2020, I filed a copy of this Joint Response to Scheduling Order

with the Court’s CM/ECF system, which electronically transmits a copy to all registered parties.


                                                           /s/ Molissa H. Farber
                                                    Molissa H. Farber
                                                    Assistant U.S. Attorney
